THE MOBILIZATION OF HATE:
THE WHITE NATIONALIST
                                                                                   Case 2:25-cv-00067-RDP




MOVEMENT IN THE UNITED
STATES
                                                                                   Document 55-33




FORDING AND SCHRAM. 2020. “THE RISE OF THE MODERN WHITE
NATIONALIST MOVEMENT.” CHAPTERS 3-4 OF HARD WHITE: THE
MAINSTREAMING OF RACISM IN AMERICAN POLITICS.
                                                                                   Filed 05/21/25

                                                              N.D. OF ALABAMA
                                                          U.S. DISTRICT COURT
                                                          2025 May-21 PM 02:23
                                                                                 Page 1 of 69 FILED
Understanding White Nationalist
Groups as a Social Movement
¨   Right-wing extremism in the U.S.
                                           Case 2:25-cv-00067-RDP




            White                Anti-
                                           Document 55-33




          Nationalist         Government
            (White              Patriot
         Supremacist,          Movement
                                           Filed 05/21/25




           Alt-right)           (Militia
                              Movement)
                                           Page 2 of 69
The White Nationalist Movement

¨ What is the white nationalist movement?
                                                       Case 2:25-cv-00067-RDP




¨ What explains variation in white nationalist group

  mobilization?
    ¤ Over time
                                                       Document 55-33




    ¤ Across states/counties
                                                       Filed 05/21/25
                                                       Page 3 of 69
“White Nationalist” vs.
”White Supremacist”
¨ White Nationalist - a broad set of groups who are
                                                           Case 2:25-cv-00067-RDP




  set apart from other extremist groups on the far
  right by the fact that their agenda is largely
  dictated by their concern with protecting what they
                                                           Document 55-33




  believe to be a threatened white racial identity.
¨ White Supremacist - These groups exist to promote

  the interests of the white race, which they believe is
                                                           Filed 05/21/25




  set apart from other races for a variety of reasons.
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             Case 2:25-cv-00067-RDP   Document 55-33   Filed 05/21/25   Page 5 of 69

White Supremacist Ideology
(The National Alliance)
White ”Separatism”
¨ Many groups refer to whites as members of an
  “Aryan” race and tend to identify whites in the
                                                       Case 2:25-cv-00067-RDP




  United States as members of a larger white nation
  that extends to the Anglo Saxon countries of
  Western Europe.
                                                       Document 55-33




¨ Some groups claim to want nothing more than
  separation from other races and the establishment
  of an all-white ethnostate, or at the very least
                                                       Filed 05/21/25




  homogenous white institutions, including schools,
  government, and all- white residential communities
                                                       Page 6 of 69
White ”Separatism” and “Pioneer Little
Europes” (PLE)
¨ Since the 1970s, some white supremacists have tried
                                                        Case 2:25-cv-00067-RDP




  to create all-white, like-minded communities
¨ The Northwest Territorial Imperative

¨ PLE’s
                                                        Document 55-33




    ¤ La Crescenta, CA

    ¤ Elohim City, OK

    ¤ Leith, ND
                                                        Filed 05/21/25
                                                        Page 7 of 69
Defining the White Nationalist
          Movement
¨   White Supremacist groups
                                       Case 2:25-cv-00067-RDP




    ¤ The Klan

    ¤ Neo-Nazi

    ¤ Skinheads
                                       Document 55-33




    ¤ Christian Identity

¨   “Other” White Nationalist groups
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Data: SPLC “hate group” data
¨   Southern Poverty Law Center (SPLC) - Hate
                                                       Case 2:25-cv-00067-RDP




    group – An organization whose actions are at
    least partly motivated by “beliefs or practices
    that attack or malign an entire class of people,
                                                       Document 55-33




    typically for their immutable characteristics.”
    (SPLC)
¨   SPLC counts “active” hate groups only
                                                       Filed 05/21/25




    n criminal acts, marches, rallies, speeches,
        meetings, leafleting or publishing.
                                                       Page 9 of 69
Hate Crimes vs. Hate Groups
¨ Hate crime - “criminal offense against a person
                                                          Case 2:25-cv-00067-RDP




  or property motivated in whole or in part by an
  offender's bias against a race, religion, disability,
  ethnic origin or sexual orientation.”
                                                          Document 55-33




¨ Hate group – An organization whose actions are

  at least partly motivated by “beliefs or practices
  that attack or malign an entire class of people,
                                                          Filed 05/21/25




  typically for their immutable characteristics.”
  (SPLC)
                                                          Page 10 of 69
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               The “Brotherhood of Klans”
The Klan
                                   The Klan

                        The “Imperial Klans of America”
                                                                                                             Case 2:25-cv-00067-RDP
                                                                                                             Document 55-33
                                                                                                             Filed 05/21/25




“If you are not of the White race, this web site is not for the likes of YOU! We reserve the right of free
     speech to state our views whether our enemies like it or not. The IKA hates: Muds, spics, kikes
     and niggers. This is our God given right! In no way do we advocate violence.”
                                                                                                             Page 12 of 69
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Neo-Nazi’s
              Case 2:25-cv-00067-RDP   Document 55-33   Filed 05/21/25   Page 14 of 69

William Pierce and ”The Turner
Diaries”
    Case 2:25-cv-00067-RDP                Document 55-33   Filed 05/21/25   Page 15 of 69




                      Hammerskin Nation
Skinheads
            Christian Identity
                                                            Case 2:25-cv-00067-RDP
                                                            Document 55-33
                                                            Filed 05/21/25




“Kingdom Identity Ministries is a Politically Incorrect
Christian Identity outreach ministry to God's chosen race
(true Israel, the White, European peoples). “
                                                            Page 16 of 69
Defining the White Nationalist
          Movement
¨   White Supremacist groups
                                       Case 2:25-cv-00067-RDP




    ¤ The Klan

    ¤ Neo-Nazi

    ¤ Skinheads
                                       Document 55-33




    ¤ Christian Identity

¨   “Other” White Nationalist groups
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             “Other” White Nationalist
                      Groups
                                                               Case 2:25-cv-00067-RDP
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                                                  Stormfront
                                                               Filed 05/21/25




                     NAAWP
“Are you of Anglo descent? Are you tired of
being treated differently because of your race?
Do you think affirmative action should support
                                                               Page 18 of 69




white males? If the answer to any of these
questions is yes, then NAAWP is for you.”
         Case 2:25-cv-00067-RDP   Document 55-33   Filed 05/21/25   Page 19 of 69




(“Neo-Confederate)
League of the South
Case 2:25-cv-00067-RDP   Document 55-33   Filed 05/21/25   Page 20 of 69
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The Rise of the “Alt-Right”
¨   Richard Spencer - National Policy Institute
                                                          Case 2:25-cv-00067-RDP




                                                  Unite
                                                  The
                                                  Right
                                                  Rally
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Jared Taylor and American Renaissance



                                               Students for America First
      Case 2:25-cv-00067-RDP   Document 55-33   Filed 05/21/25   Page 24 of 69



The Proud Boys
                  Based on an average of active
                  groups for 2015-2017
                                                      Case 2:25-cv-00067-RDP
                                                      Document 55-33




                                White Nationalist Groups
                               per 100,000 state populatio
                                                      Filed 05/21/25




                                        1.04 − 2.43
                                        0.86 − 1.04
                                        0.59 − 0.86
                                        0.38 − 0.59
                                        0.00 − 0.38
                                                      Page 25 of 69




SPLC’s Hate Map
                                              Case 2:25-cv-00067-RDP




What Explains the Long-term Trends in White
Nationalist Movement Mobilization?
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                                Case 2:25-cv-00067-RDP




Understanding Racially
                                Document 55-33




Motivated Political Behavior:
A Theoretical Framework
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The White Nationalist Movement as a
Countermovement
¨ Civil rights movement success
                                                          Case 2:25-cv-00067-RDP




¨ Rejection of white nationalists from Republican Party

¨ After 1972, conventional politics seen as futile
                                                          Document 55-33
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1968 Presidential Election
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1972 Presidential Primaries
                                       Case 2:25-cv-00067-RDP




White Nationalist Framing Strategies
                                       Document 55-33




 “Racialized Political Narratives”
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Circa 2012
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The Obama Effect and the
Mobilization of the White Nationalist
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Movement
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Motivated Political Behavior:
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Anecdotal Evidence - the “Obama
           Backlash”
                                                                      Case 2:25-cv-00067-RDP




                                 Obama is a “visual aid” for the
                                 recruitment of white
                                 supremacists. (David Duke)
                                                                      Document 55-33




                                                         Stormfront
                                                                      Filed 05/21/25




 Stormfront’s website received so much traffic on
 the day after Obama was elected in 2008 that
 it had to shut down.
                                                                      Page 36 of 69
                                      How Angry Does the Federal Government Make You?




                4
                                                                                                    This graph displays the predicted level of
                                                                                                    anger toward the federal government by
                                                                                                                                              Case 2:25-cv-00067-RDP




                                                                                May 2009            an individual’s level of outgroup hostility




                       3
                                                                                                    (based on survey items measuring
                                                                                                    attitudes toward Blacks, Latinx immigrants
                                                                                                    and Muslims). The sample includes white
                                                                                                    adults only and the data were measured
                                                                                                    at two points in time – prior to and after




         2
                                                                                                    the election of Barack Obama.
                                                                                                                                              Document 55-33




Anger Toward Federal Government
                                                                                 January 2008




                1
                                                                                                                                              Filed 05/21/25




                                  0   .1   .2    .3   .4     .5      .6    .7   .8      .9      1
                                                      Outgroup Hostility
                                                                                                                                              Page 37 of 69
                                 EXTERNAL POLITICAL EFFICACY AMONG WHITE RACIAL
                                 EXTREMISTS AND AND NON-EXTREMISTS




               60
                                                                                   “EXTERNAL POLITICAL
                                          Non-Extremist Whites                     EFFICACY” IS THE BELIEF
                                                                                   THAT THE GOVERNMENT
                                                                                                        Case 2:25-cv-00067-RDP




                           50
                                                                                   IS SYMPATHETIC TO ONE’S
                                                                                   DEMANDS/GRIEVANCES




              40
                                                                                                        Document 55-33




                                          White Racial Extremists




 30
External Political Efficacy
                                                                                   OBAMA ELECTED
                                                                                                        Filed 05/21/25




               20
                                1992        1996                    2000   2004   2008
                                                                                                        Page 38 of 69




                                                                    Year
                                        WHITE NATIONALIST GROUP ACTIVITY BY STATES WHERE
                                        CITUZEN OUTGROUP HOSTILITY IS HIGH VS. LOW

                                             Pre-Obama




                  5.5
                                                                                                                               Case 2:25-cv-00067-RDP




                                                                                                         OUTGROUP HOSTILITY




                               5
                                                                               High Outgroup Hostility   IS DEFINED AS EXPRESSED
                                                                                                         HOSTILITY TOWARD
                                                                                                         BLACKS, LATINX
                                                                                                         IMMIGRANTS




                   4.5
                                                                                                         AND MUSLIMS AND IS
                                                                                                                               Document 55-33




                                                                                                         MEASURED BASED ON
                                                                                                         SURVEY DATA FROM




          4
                                                                                                         EACH STATE




 Rate of White Nationalist Activity
                                                                                                                               Filed 05/21/25




3.5
                                                                              Low Outgroup Hostility




                  3
                                      2005     2006      2007          2008   2009              2010
                                                                                                                               Page 39 of 69




                                                                Year
If the election of Obama led to an increase WNM activity, how
    can we explain trends in movement activity since 2010?
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                         The Mainstreaming of the White
                              Nationalist Movement
                  A Shift in Tactics
¨ The debate over tactics - conventional vs.
                                                               Case 2:25-cv-00067-RDP




  unconventional
¨ David Duke - from Klansman to Congressman?

    ¤ Duke has failed in every race for Congress, but he did
                                                               Document 55-33




      serve a term in the Louisiana House of Representatives
      from 1989-92
                                                               Filed 05/21/25
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The American Freedom Party
¨   Founded as American Third Position Party in 2010
                                                       Case 2:25-cv-00067-RDP




    (CA)
                                                       Document 55-33




                  William Johnson
                                                       Filed 05/21/25
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The American Freedom Party
¨   William Johnson video address to supporters in
                                                               Case 2:25-cv-00067-RDP




    2010:
    ¤ “We … embrace principles that will secure the
      existence of our people and a future for our children”
                                                               Document 55-33




¨   David Lane’s “14 Words”:
    ¤ “We must secure the existence of our people and a
      future for white children.”
                                                               Filed 05/21/25
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The Tea Party Movement
A Timeline

¨ 2008 Republican primaries – Ron Paul
                                                    Case 2:25-cv-00067-RDP




¨ February 19, 2009 – Rick Santelli rant

¨ February 27, 2009 – Nationwide Chicago Tea
  Party protests – 40 cities
                                                    Document 55-33




¨ April 15, 2009 – 750 cities, >1/2 million

¨ September 12, 2009 – Taxpayer march on
  Washington
                                                    Filed 05/21/25




¨ July 2010 – Michelle Bachman (Tea Party Caucus)

¨ January 2015 – Tim Huelskamp (Tea Party Caucus)
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                     Early 2009 – “Send a tea bag to Congress”
Tea Party Protests
                                 ¨
Tea Party Protests
¨ Early 2009 – “Porkulus” protests
                                     Case 2:25-cv-00067-RDP




¨ Seattle (2/16/2009)
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             Case 2:25-cv-00067-RDP   Document 55-33   Filed 05/21/25   Page 48 of 69

Taxpayer March on Washington
9/12/2009
           Case 2:25-cv-00067-RDP       Document 55-33   Filed 05/21/25   Page 49 of 69



Tea Party Voters and Race
                            Anecdotal
                              ¨
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Tea Party Voters and Race
                            Anecdotal
                              ¨
Tea Party Movement Activists and the
White Supremacist Movement
¨   By 2010, reports began to surface claiming a link
                                                        Case 2:25-cv-00067-RDP




    between white supremacist movement
    members/activists and the Tea Party.
                                                        Document 55-33




¨   2010 Poll: About 61 percent of tea party
    opponents say racism has a lot to do with the
    movement, a view held by just 7 percent of tea
                                                        Filed 05/21/25




    party supporters. (Washington Post)
                                                        Page 51 of 69
            Case 2:25-cv-00067-RDP   Document 55-33   Filed 05/21/25   Page 52 of 69

Tea Party Voters and Racial
Resentment
The Tea Party Movement
A Timeline

¨ 2008 Republican primaries – Ron Paul
                                                    Case 2:25-cv-00067-RDP




¨ February 19, 2009 – Rick Santelli rant

¨ February 27, 2009 – Nationwide Chicago Tea
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                                                    Document 55-33




¨ April 15, 2009 – 750 cities, >1/2 million

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                                                    Filed 05/21/25




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¨ January 2015 – Tim Huelskamp (Tea Party Caucus)
                                                    Page 53 of 69
        Case 2:25-cv-00067-RDP                                   Document 55-33   Filed 05/21/25   Page 54 of 69




                     Early 2009 – “Send a tea bag to Congress”
Tea Party Protests
                                 ¨
Tea Party Protests
¨ Early 2009 – “Porkulus” protests
                                     Case 2:25-cv-00067-RDP




¨ Seattle (2/16/2009)
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Taxpayer March on Washington
9/12/2009
Political Entrepreneurs and the Tea
Party Movement
¨   Political commentators – e.g. Glenn Beck
                                                    Case 2:25-cv-00067-RDP




¨   National advocacy groups
    ¤ Freedom Works (origin 2004)
    ¤ Prosperity for America (origin 2004)
                                                    Document 55-33




    ¤ Tea Party Express (summer 2009)
    ¤ Tea Party Patriots (March 2009)
    ¤ Hundreds of local/grass-roots organizations
                                                    Filed 05/21/25




¨   Candidates/elected officials
                                                    Page 57 of 69
Tea Party Voters
(2010 CCES)




  % Identifying as Conservative
                                                                                                    Case 2:25-cv-00067-RDP




  Preference for Spending Cuts




            Opposition to ACA
                                                                                                    Document 55-33




           Opposition to ARRA




        Support for Gun Rights
                                                                                                    Filed 05/21/25




                                 0         20           40        60           80             100

                                     Democrats                    Non-Tea Party Republicans
                                                                                                    Page 58 of 69




                                     Weak Tea Party Republicans   Strong Tea Party Republicans
                                     Independents
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Tea Party Voters and Race
                            Anecdotal
                              ¨
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Tea Party Voters and Race
                            Anecdotal
                              ¨
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Tea Party Voters and Race
                            Anecdotal
                              ¨
Tea Party Movement Activists and the
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    party supporters. (Washington Post)
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     Voters and
     Outgroup
     Tea Party


     Hostility
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From Stormfront (anonymous white
nationalist):
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From Stormfront (anonymous white
nationalist):
Richard Spencer and
                      Case 2:25-cv-00067-RDP




the Rebranding of
White Nationalism
                      Document 55-33




The “Overton Window
of Political
                      Filed 05/21/25




Possibilities”
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Has it worked?
                                                                                         Case 2:25-cv-00067-RDP
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 The average level of white outgroup hostility has declined since 2012. This trend has
 continued through 2020 (See Chapter 2, Hard White).
               Case 2:25-cv-00067-RDP   Document 55-33   Filed 05/21/25   Page 68 of 69
From Stormfront (anonymous white
nationalist):
But white nationalists HAVE become more likely to
participate in mainstream electoral politics in the
Trump era
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